                        IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA

 TRACIE BEARD, individually and on behalf of                   CLASS ACTION
 all others similarly situated,
                                                                CASE NO. 5:21-cv-00173-D
       Plaintiff,
                                                               JURY TRIAL DEMANDED
 vs.

 JOHN HIESTER CHEVROLET, LLC,

   Defendant.
 ______________________________________/

DEFENDANT’S RESPONSE TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION

                                         TO DEFENDANT



       1.     Every insurance agreement under which any insurance business—irrespective of
whether you have or intend to make such a claim—may be liable (i) to satisfy all or part of a
possible judgment against You in this action, (ii) to indemnify You, (iii) to reimburse You for
payments made to satisfy the judgment, or (iv) to pay for Your defense of this lawsuit.

          NONE (see insurance agreement provided with the initial disclosures which contains
          TCPA coverage exclusions)

       2.      All contracts or agreements between you and any third-party regarding the
transmission of the Prerecorded Messages.

          OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
          to the needs of the case, considering the importance of the issues at stake in the action,
          the amount in controversy, the parties’ relative access to relevant information, the
          parties’ resources, the importance of the discovery in resolving the issues. Further,
          the burden and expense of the proposed discovery outweighs its likely benefit.
          Without waiving, and on information and belief, none.


        3.     All communications between You and any third-party regarding the transmission
of the Prerecorded Messages.

          OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
          to the needs of the case, considering the importance of the issues at stake in the action,


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       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.


        4.    All invoices or receipts regarding payment to any third-party for transmission of
the Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.



        5.      Documents sufficient to identify the hardware, software, and/or methodology used
to store Plaintiff’s telephone number.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


        6.      Documents sufficient to identify the hardware, software, and/or methodology used
to transmit the Subject Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.



        7.      Documents sufficient to identify the hardware, software, and/or methodology used
to transmit the Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.

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       8.      Documents sufficient to identify the following information regarding recipients of
Prerecorded Messages: name, home address, email address, phone numbers, and any other
personal identifying information.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


       9.    Documents sufficient to identify each source(s) from which you obtained each
telephone number to which Prerecorded Messages were transmitted.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


       10.      All call logs, disposition reports, transmission reports, or computer-generated
document, sufficient to identify (1) the total number of Prerecorded Messages attempted, (2) the
date and time of each Prerecorded Message was attempted, and (3) the result of each attempted
transmission, i.e., whether each transmission was successfully completed.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


       11.    All documents regarding or referring to Plaintiff.

       Upon information and belief, all such documents were provided as part of the Initial
       Disclosures.



        12.      All documents you reviewed and/or relied upon in formulating your responses to
Plaintiff’s Interrogatories.



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       Upon information and belief, all such documents were provided as part of the Initial
       Disclosures.



       13.    All of Your formal written policies or procedures related to TCPA compliance,
including Do Not Call rules compliance.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none as these services are managers by third parties.


       14.     Documents sufficient to identify your policies, practices, or procedures for
transmitting Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none as these services are managers by third parties.


       15.   Documents sufficient to identify the criteria used to select or obtain the list of
telephone numbers to which Prerecorded Messages were sent.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none as these services are managers by third parties.


       16.    Documents sufficient to identify the type of consent or permission, if any, you
obtained from Plaintiff to send the Subject Prerecorded Messages prior to You sending the Subject
Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none as these services are managers by third parties. Further, see


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       documents provided with the Initial Disclosures.


       17.    Documents sufficient to identify the type of consent or permission, if any, you
obtained from recipients of the Prerecorded Messages prior to You sending those individuals
Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none as these services are managers by third parties. Further, see
       the documents provided with the Initial Disclosures.


      18.     Documents sufficient to identify the reason(s) why the Subject Prerecorded
Messages or Prerecorded Messages were sent.

   OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
   to the needs of the case, considering the importance of the issues at stake in the action,
   the amount in controversy, the parties’ relative access to relevant information, the
   parties’ resources, the importance of the discovery in resolving the issues. Further, the
   burden and expense of the proposed discovery outweighs its likely benefit. Further, the
   request is vague. Without waiving, see the documents provided with the Initial
   Disclosures.


       19.     All documents pertaining to the marketing or promotion of Your goods or services
through the use of the Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none as these services are managers by third parties. Further, see
       the documents provided with the Initial Disclosures.


      20.     All manuals, procedures, policies, or instructions related to Your use of Prerecorded
Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.

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       Without waiving, none as these services are managers by third parties. Further, see
       the documents provided with the Initial Disclosures.


       21.     Documents sufficient to identify how You generate revenue.

        OBJECTION. This Request is not relevant to Plaintiff’s claim and is not
       proportional to the needs of the case, considering the importance of the issues at stake
       in the action, the amount in controversy, the parties’ relative access to relevant
       information, the parties’ resources, the importance of the discovery in resolving the
       issues. Further, the burden and expense of the proposed discovery outweighs its likely
       benefit.


        22.    Documents sufficient to identify the total revenue, if any, You generated as a result
of the Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.


        23.     All documents that recorded in writing any complaint received by You from any
recipient of a Prerecorded Messages regarding receipt of the Prerecorded Message.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


      24.     Documents sufficient to identify each individual that requested You not contact
them by telephone after that individual received a Prerecorded Message.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


      25.    All documents you have received claiming that you have violated the Telephone
Consumer Protection Act or the Do Not Call rules.


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       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


       26.    Audio copies of each version of the Prerecorded Messages, including any draft
versions.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


        27.     All documents regarding the wording of the Prerecorded Messages, including any
scripts of the wording of the Prerecorded Messages.

       OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
       to the needs of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant information, the
       parties’ resources, the importance of the discovery in resolving the issues. Further,
       the burden and expense of the proposed discovery outweighs its likely benefit.
       Without waiving, none.


       28.    All communications between You and Plaintiff.

   OBJECTION. This Request is not relevant to Plaintiff’s claim and is not proportional
   to the needs of the case, considering the importance of the issues at stake in the action,
   the amount in controversy, the parties’ relative access to relevant information, the
   parties’ resources, the importance of the discovery in resolving the issues. Further, the
   burden and expense of the proposed discovery outweighs its likely benefit. Without
   waiving, see the documents provided with the Initial Disclosures.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I electronically served the foregoing document on counsel for

Plaintiff as follows:


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       Respectfully submitted this 24th day of June, 2021.



       /s/ Robert A. Buzzard
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